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                           UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY

          CHAMBERS OF                                                 MARTIN LUTHER KING
        ESTHER SALAS                                                     COURTHOUSE
  UNITED STATES DISTRICT JUDGE                                           50 WALNUT ST.
                                                                           ROOM 2037
                                                                       NEWARK, NJ 07101
                                                                           973-297-4887
                                         April 6, 2017


                                      LETTER ORDER

       Re:      Sarracco v. Ocwen Loan Servicing LLC, et al.
                Civil Action No. 16-9131 (ES) (JAD)

Dear Counsel:

       On February 10, 2017, Defendant Phelan Hallinan Diamond & Jones, PC (“PHD&J”) filed
a motion to dismiss Plaintiff’s Complaint. (D.E. No. 57). On February 23, 2017, PHD&J was
dismissed as a defendant in this matter. (D.E. No. 59). In light of its dismissal, PHD&J’s motion
to dismiss Plaintiff’s Complaint is hereby denied as moot.

       The Clerk of Court shall terminate docket entry number 57 and mark this matter CLOSED.

       SO ORDERED.

                                            s/Esther Salas
                                            Esther Salas, U.S.D.J.
